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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 VICKI BAKER,

       Plaintiff,

                                                  § Civil Action No. 4:21-CV-00176
 N.
                                                  § Judge Mazzant

 CITY OF MCKINNEY, TEXAS
       Defendant.                                 §

                                   VERDICT OF THE JURY

We, the Jury, find as follows:


                                     QUESTION NO. 1(a):

       Do you find, by a preponderance of the evidence, that Defendant City of McKinney was

acting under color of state law when it violated Plaintiff Vicki Baker s constitutional ri hts under

the Fifth Amendment of the United State Constitution by depriving her of her property without

providing just compensation?


       Answer Yes or “No :




       Answer:




If you answered “Yes to Question No. 1(a), proceed to Question No. 1(b).

If you answered “No to Question No. 1(a), proceed to Question No. 2.




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                                     QUESTION NO. 1(b):

       Do you find, by a preponderance of the evidence, that Defendant City of McKinney s

actions proximately caused Plaintiff Vicki Baker s damages, if any?


       Answer Yes or No :




       Answer:




Proceed to Question No. 2.




                                       QUESTION NO. 2:

       What sum of money if paid now in cash, would justly compensate Plaintiff Vicki Baker for

the cost of repairs to her real property resulting from the occurrence in question?



       Answer in dollars and cents, for compensation, if any.




       Answer:




Proceed to Question No. 3.




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                                       QUESTION NO. 3:

        What sum of money if paid now in cash, would justly compensate Plaintiff Vicki Baker for

 the loss in market value to her personal property resulting from the occurrence in question?


        Answer in dollars and cents, for compensation, if any.




        Answer: /?, /<3O, gg




Forepers                                  s:                 Date: b b/ L 2



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